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                                              February 19, 2020

FILED VIA ECF

Honorable Michael J. Davis
United States District Court
13E U.S. Courthouse
300 South Fourth Street
Minneapolis, MN 55415


       Re:     In re CenturyLink Sales Practices and Securities Litigation,
               MDL No. 17-2795 (MJD/KMM)

Dear Judge Davis:

       This letter is being filed via ECF with the prior permission of the Court.

        Defendant CenturyLink, Inc. (“CenturyLink”) and the Consumer Plaintiffs (the “parties”)
write to inform the Court of the status of the dissemination of notice to class members pursuant
to the Court’s Preliminary Approval Order dated January 24, 2020 (“Order”).

        The Order, inter alia, approved the content of notices to class members and required that
CenturyLink and the Settlement Administrator begin disseminating approved notices to class
members through various channels no later than March 10, 2020. The Order also included an
injunction against the filing or prosecution of claims in court or arbitration by class members,
and the approved notices contained language expressly informing class members of that
injunction.

        After the Court entered the Order, three individuals – Edwin Miller, Vonita Taylor, and
Patrick West (“Appellants”) – filed an appeal on February 7, 2020, with the U.S. Court of
Appeals for the Eighth Circuit, and also moved this Court, on February 10, 2020, to stay this
action pending that appeal (refiled at Dkt. No. 554). Appellants’ counsel has represented to the
Consumer Plaintiffs and CenturyLink that they are not only specifically challenging the
injunction in the Order but also appealing the entirety of the Order itself. Relevant authority,
including that cited by Appellants, makes clear that the injunction is proper as written and
described in the approved notices.



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         At the time that the appeal and stay motion were filed, CenturyLink and its vendors were
 actively engaged in activities necessary to meet the March 10, 2020 deadline for disseminating
 class notice over all required channels, and were on track to meet the Order’s deadlines. The
 appeal and stay motion created significant uncertainties about whether the notice process would
 proceed on the current timetable, and also created the prospect of wasted effort and substantial
 expense if certain notice-related processes had to be modified or repeated as a result of the
 pending motions. As a result, the parties felt that it was prudent to delay certain notice-related
 activities pending our appearance before Your Honor on February 20, 2020.

        This delay may make it difficult or impossible to begin disseminating notice over all
 channels by March 10, 2020. Furthermore, the outcome of the pending motion could cause
 additional delay if CenturyLink is required to redo certain activities (such as printing over one
 million notices).

        The parties wanted to keep the Court fully informed and hope to obtain the Court’s
 guidance at the hearing this week. We thank the Court for its continued assistance in these
 matters.
                                             Respectfully submitted,

                                                      /s/ Douglas P. Lobel
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